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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

K.B., BY HER MOTHER, SAKIA HALL AS
NEXT FRIEND AND SAKIA HALL,

Plaintiffs,
Vv. Case No. 3:11-cv-00065-JRS
HAROLD FORD,

Defendant.

HAROLD FORD’S MOTION FOR SUMMARY JUDGEMENT

NOW COMES defendant Harold Ford (“Ford”), by counsel, pursuant to Rule 56 of the
Federal Rules of Civil Procedure, and hereby moves the Court for Summary Judgment in his
favor. In support of this Motion, Ford states that there is no genuine issue of material fact that
would prevent summary judgment from being entered in his favor.

Ford incorporates his Brief in Support of Summary Judgment as if fully set forth herein,
along with the depositions and all other documents referred to in the Brief and, in particular, the
evidence referenced in the listing of undisputed material facts pursuant to Local Rule 56{B).

WHEREFORE, Harold Ford respectfully requests that this Court grant his Motion for
Summary Judgment, dismiss the plaintiff's Complaint in its entirety and with prejudice, and

award him his costs and attorney fees in defending this matter.
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HAROLD FORD

By Counsel

/s/

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CERTIFICATE

[hereby certify that on the 8" day of June, 2011, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to
the following:

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